                                     UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF MICHIGAN
                                            SOUTHERN DIVISION

IN RE:
          Daryl L. Shackelford
          Nicol M. Selmon-Shackelford
                                                                         Case No. 21-41862-MAR
                                                                         Chapter 7
                                                                         HON. Mark A. Randon
                     Debtor(s).
                                                     /

                          MOTION TO WITHDRAW AS COUNSEL FOR DEBTORS

          NOW COMES CHARLES J. SCHNEIDER, and herewith states his motion as follows:

          1.         Charles J. Schneider acted as counsel for the Debtors relative to the filing of these Chapter

7 proceedings since 3/05/2021.

          2.         Movant believes it is necessary that he withdraw as counsel for the Debtors for the reason

that there has been a breakdown in the relationship between counsel and clients and counsel believes that

the clients’ conduct is rendering it unreasonably difficult for counsel to carry out his employment effectively.

In support of this motion, movant cites Michigan Rules of Professional Conduct 1.16(b)(3), (4) & (6).

          3.         The undersigned counsel had been informed that the Debtors desired to convert their case

from a chapter 7 case to a chapter 13 to avoid the possible sale of their home by the chapter 7 Trustee. To

that extent, the undersigned counsel filed a motion to convert the case from a chapter 7 to a chapter 13 on

08/02/2021 (Docket# 30). Since the filing of the motion, the undersigned counsel has been informed by the

Debtor husband that he did not wish payments to be deducted from his pay check. He does not want to sign

the amended Scheduler I and J that need to be signed to support the motion to convert. He no longer desires

to convert case. The Debtor wife has continued to express a desire to convert the case to keep the home. She

has also suggested that her case be severed from her husband’s. The divergent goals of the joint Debtors have

placed the undersigned counsel in a conflict.


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          4.         Counsel has advised the clients of his intention to withdraw from representation in this

proceeding pursuant to Rule 1.16(b).

          WHEREFORE, Charles J. Schneider prays this Honorable Court enter an order permitting him to

withdraw as counsel for the Debtors Daryl L. Shackelford and Nicol M. Selmon-Shackelford.

                                                                           /s/ Charles J. Schneider
                                                                         CHARLES J. SCHNEIDER (P27598)
                                                                         MARY BETH WIMBERLEY (P82137)
                                                                         NICHOLAS D. CHAMBERS (P72694)
                                                                         Attorneys for Debtors
                                                                         39319 Plymouth Rd., Ste. 1
                                                                         Livonia, MI 48150
                                                                         (734) 591-4890
                                                                         notices@cschneiderlaw.com
Dated: September 9, 2021




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                                     UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF MICHIGAN
                                            SOUTHERN DIVISION


IN RE:
          Daryl L. Shackelford
          Nicol M. Selmon-Shackelford
                                                                         Case No. 21-41862-MAR
                                                                         Chapter 7
                                                                         HON. Mark A. Randon
                     Debtor(s).
                                                     /

    BRIEF IN SUPPORT OF MOTION TO WITHDRAW AS COUNSEL FOR THE DEBTORS

          This motion is brought pursuant to Michigan Rules of Professional Conduct 1.16(b). Movant has

been counsel for the Debtors since 3/05/2021. In recent months, during the course of employment, Movant

has advised the clients as to the proper manner of action with respect to their obligations in this Chapter 7

proceeding. Movant believes that Debtors are not acting in conformity with the advice of counsel to certain

substantive matters in this case, making counsel's representation of Debtors unreasonably difficult. As a

result of the clients’ actions, counsel believes that there has been a breakdown in the attorney-client

relationship and that it would be in the best interests of both the clients and counsel if withdrawal were

permitted.

          Permissive withdrawal is proper pursuant to Rule 1.16(b) based on a variety of factors. In this

matter, Movant is citing sub-sections (3), (4) & (6). Movant believes that the clients’ conduct is rendering

it unreasonably difficult for Movant to carry out his employment effectively.

          Movant does not believe that withdrawal will prejudice the rights of the clients and further believes

that this Court will find the existence of other good cause for withdrawal pursuant to Rule 1.16(b)(6).




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          WHEREFORE, Charles J. Schneider prays this Court enter an order authorizing his withdrawal as

counsel for the Debtors.

                                                                           /s/ Charles J. Schneider
                                                                         CHARLES J. SCHNEIDER (P27598)
                                                                         MARY BETH WIMBERLEY (P82137))
                                                                         NICHOLAS D. CHAMBERS (P72694)
                                                                         Attorneys for Debtor(s)
                                                                         39319 Plymouth Rd., Ste. 1
                                                                         Livonia, MI 48150
                                                                         (734) 591-4890
                                                                         notices@cschneiderlaw.com
Dated: September 9, 2021


                                                             EXHIBIT 3




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                                     UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF MICHIGAN
                                            SOUTHERN DIVISION

IN RE:
          Daryl L. Shackelford
          Nicol M. Selmon-Shackelford
                                                                         Case No. 21-41862-MAR
                                                                         Chapter 7
                                                                         HON. Mark A. Randon
                     Debtor(s).
                                                     /

               ORDER AUTHORIZING WITHDRAWAL AS COUNSEL FOR DEBTORS

          This matter having come on to be heard upon the motion to withdraw as counsel for Debtors, filed

by Charles J. Schneider, a hearing having been held thereon, the Court finding good cause for entry of this

Order and being otherwise fully advised in the premises;

          NOW THEREFORE, IT IS HEREBY ORDERED that Charles J. Schneider is authorized to

withdraw as counsel for Debtors Daryl L. Shackelford and Nicol M. Selmon-Shackelford, effective as of

the date of this order.


                                                              EXHIBIT 1




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                                     UNITED STATES BANKRUPTCY COURT
                                      EASTERN DISTRICT OF MICHIGAN
                                            SOUTHERN DIVISION

IN RE:
          Daryl L. Shackelford
          Nicol M. Selmon-Shackelford
                                                                          Case No. 21-41862-MAR
                                                                          Chapter 7
                                                                          HON. Mark A. Randon
                     Debtor(s).
                                                   /

                NOTICE OF MOTION TO WITHDRAW AS COUNSEL FOR DEBTORS

        Petitioner, CHARLES J. SCHNEIDER, has filed papers with the court to withdraw as counsel for
the above captioned Debtor(s).

        Your rights may be affected. You should read these papers carefully and discuss them with
your attorney. (If you do not have an attorney, you may wish to consult one.)

         If you do not want the Court to grant counsel's withdrawal from the within case, or if you want the
court to consider your views on the motion, within FOURTEEN (14) days from the date of service of this
motion, you or your attorney must:

          1.         File a written response or an answer explaining your position with1:
                                      United States Bankruptcy Court
                                      211 West Fort Street, Suite 2100
                                      Detroit, MI 48226

        If you mail your response to the court for filing, you must mail it early enough so the court will
receive it on or before the FOURTEENTH (14th) day from the date of service of this motion.

                     You must also send a copy to:

                     Charles J. Schneider                       Karen E. Evangelista
                     Attorney for Debtor(s)                     Karen E. Evangelista P.C.
                     39319 Plymouth Rd., Suite 1                410 West University, Suite 225
                     Livonia, MI 48150                          Rochester, MI 48307




          1
           Response or answer must comply with F.R.Civ.P. 8(b), (c) and (e)


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       2.      If a response or answer is timely filed and served, the clerk will schedule a hearing on the
motion and you will be served with a notice of the date, time and location of the hearing.

        If you or your attorney do not take these steps, the court may decide that you do not oppose
the relief sought and may enter an order granting that relief.


                                                                           /s/ Charles J. Schneider
                                                                         CHARLES J. SCHNEIDER (P27598)
                                                                         MARY BETH WIMBERLEY (P82137)
                                                                         NICHOLAS D. CHAMBERS (P72694)
                                                                         Attorneys for Debtor(s)
                                                                         39319 Plymouth Rd., Ste. 1
                                                                         Livonia, MI 48150
                                                                         (734) 591-4890
Dated: September 9, 2021                                                 notices@cschneiderlaw.com

                                                             EXHIBIT 2




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                                      EASTERN DISTRICT OF MICHIGAN
                                            SOUTHERN DIVISION

IN RE:
          Daryl L. Shackelford
          Nicol M. Selmon-Shackelford
                                                                         Case No. 21-41862-MAR
                                                                         Chapter 7
                                                                         HON. Mark A. Randon
                     Debtor(s).
                                                   /

                                                       PROOF OF SERVICE

         Jane Gackle, certifies that she is employed by the Law Office of Charles J. Schneider, P.C., attorney
for the Debtor, and states that on September 9, 2021, she served a copy of MOTION TO WITHDRAW AS
COUNSEL FOR DEBTORS, NOTICE OF MOTION TO WITHDRAW AS COUNSEL FOR
DEBTORS, BRIEF IN SUPPORT OF MOTION AND PROPOSED ORDER to:

Daryl L. Shackelford
Nicol M. Selmon-Shackelford
8836 Woodbine
Redford, MI 48239

Karen E. Evangelista
Karen E. Evangelista P.C.
410 West University Suite 225
Rochester MI 48307

All parties indicated on the attached dated court matrix

Electronically pursuant to the court notice of service and to those not electronically registered by placing
documents in an envelope, correctly addressed and placing same in the U.S. Mail with postage prepaid.


                                                                /s/ Jane Gackle
                                                               JANE GACKLE
                                                               LAW OFFICE OF CHARLES J. SCHNEIDER, P.C.
                                                               39319 Plymouth Rd., Ste. 1
                                                               Livonia, MI 48150
                                                               (734) 591-4890
                                                               notices@cschneiderlaw.com


                                                              EXHIBIT 4




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Label Matrix for local noticing            AFNI                                          AT&T Mobility
0645-2                                     PO Box 3097                                   PO Box 6416
Case 21-41862-mar                          Bloomington, IL 61702-3097                    Carol Stream, IL 60197-6416
Eastern District of Michigan
Detroit
Thu Sep 9 10:36:38 EDT 2021
Allstate Credit Bureau                     Ally Financial                                Ally Financial
22000 Springbrook Ave                      P.O. Box 380901                               PO Box 380901
Suite 201                                  Bloomingham, MN 55438-0901                    Bloomington, MN 55438-0901
Farmington, MI 48336-4375


American Profit Recovery                   Barclays Bank Delaware                        Beaumont Health
34405 West 12 MIle Road                    Attn: Officer for receipt of Process          PO Box 554878
Suite 379                                  PO Box 8803                                   Detroit, MI 48255-4878
Farmington Hills, MI 48331-5608            Wilmington, DE 19899-8803


Best Buy/CBNA                              Heather R. Burnard                            CB Indigo
5800 South Corportate Place                31440 Northwestern Highway                    P.O. Box 4499
Sioux Falls, SD 57108-5027                 Suite 200                                     Beaverton, OR 97076-4499
                                           Farmington Hills, MI 48334-5422


Capital One                                Capital One                                   Capital One Bank
P.O. Box 30285                             PO Box 30281                                  P.O. Box 30281
Salt Lake City, UT 84130-0285              Salt Lake City, UT 84130-0281                 Salt Lake City, UT 84130-0281



Christine Selmon                           Christine Selomon                             Tracy M. Clark
20213 Redfern                              20213 Redfern                                 25925 Telegraph Rd.
Detroit, MI 48219-1221                     Detroit, MI 48219-1221                        Suite 203
                                                                                         Southfield, MI 48033-2527


Comenity Bank                              Comenity Bank-Victoria Secrets                Comenity Bank/Torrid
PO Box 182789                              P O Box 182789                                P.O. Box 182789
Columbus, OH 43218-2789                    Columbus, OH 43218-2789                       Columbus, OH 43218-2789



Comenity Bank/Wayfair                      (p)CONGRESS COLLECTION                        Credence Resource Management
PO Box 182789                              701 SNOW RD                                   PO Box 2390
Columbus, OH 43218-2789                    STE C                                         Southgate, MI 48195-4390
                                           LANSING MI 48917-4087


Credit Card/FB&T                           Credit One Bank                               (p)DSNB MACY S
1415 Warm Springs Road                     P.O. Box 98872                                CITIBANK
Columbus, GA 31904-8366                    Las Vegas, NV 89193-8872                      1000 TECHNOLOGY DRIVE MS 777
                                                                                         O FALLON MO 63368-2222


Enhanced Recovery Company LLC              Karen E. Evangelista                          ExxonMobile/Citibank
PO Box 57547                               410 West University                           5800 South Coporated Place
Jacksonville, FL 32241-7547                Suite 225                                     Sioux Falls, SD 57108-5027
                                           Rochester, MI 48307-1938
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(p)FIRST FEDERAL CREDIT CONTROL INC                  First Premier                                        IC Systems Collections
24700 CHAGRIN BLVD                                   Attn: Officer for Receipt of Process                 PO Box 64378
SUITE 205                                            3820 N Louise Ave                                    St. Paul, MN 55164-0378
BEACHWOOD OH 44122-5662                              Sioux Falls, SD 57107-0145


IRF/Pioneer                                          Kamran F. ‘Sheikh, MD PC                             Kohl’s Department Store
6520 Indian River                                    PO Box 77000 Departent 77220                         Attn: Office for Receipt of Process
Virginia Beach, VA 23464-3439                        Detroit, MI 48277-2000                               P.O. Box 3115
                                                                                                          Milwaukee, WI 53201-3115


Kohls Department Store                               LVNV Funding                                         Merrick Bank
PO Box 3115                                          c/o Resurgent Capital Services                       PO Box 9201
Milwaukee, WI 53201-3115                             P O Box 1269                                         Old Bethpage, NY 11804-9001
                                                     Greenville, SC 29602-1269


Mountian Run Solutions LLC                           NewRez                                               PRA Receivables Management, LLC
313 E. 1200 South                                    PO Box 619063                                        PO Box 41021
Suite 200                                            Dallas, TX 75261-9063                                Norfolk, VA 23541-1021
Orem, UT 84058-6939


(p)PORTFOLIO RECOVERY ASSOCIATES LLC                 Prosper Marketplace                                  SYNCB/Amazon
PO BOX 41067                                         221 Main Street #300                                 P.O. Box 965015
NORFOLK VA 23541-1067                                San Francisco, CA 94105-1909                         Orlando, FL 32896-5015



SYNCB/TJX                                            Charles J. Schneider                                 Nicol M. Selmon-Shackelford
P.O. Box 965015                                      39319 Plymouth Rd.                                   8836 Woodbine
Orlando, FL 32896-5015                               Suite 1                                              Redford, MI 48239-1228
                                                     Livonia, MI 48150-1064


Daryl L. Shackelford                                 Small Business Administration                        The Home Depot/CBNA
8836 Woodbine                                        1441 L ST NW                                         5800 South Corporate Place
Redford, MI 48239-1228                               Mail Code 5460                                       Sioux Falls, SD 57108-5027
                                                     Washington, DC 20005-3512


US Treasury-Financial Management                     Web Bank/Fingerhut                                   Willmae Shackelford
PO Box830794                                         6250 Ridgewood Rd.                                   18465 Lenore St
Birmingham, AL 35283-0794                            Saint Cloud, MN 56303-0820                           Detroit, MI 48219-3019




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Congress Collection                                  DSNB/Macy’s                                          First Federal Credit Control, Inc.
P.O. Box 130                                         Attn: Office for Receipt of Process                  24700 Chagrin Blvd
Saint Johns, MI 48879                                P.O. Box 8218                                        Suite 205
                                                     Mason, OH 45040                                      Cleveland, OH 44122-5662
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(d)First Federal Credit Control, Inc.                Portfolio Recovery
Attn: Officer for receipt of Process                 120 Corporate Blvd.
24700 Chagrin Blvd Ste 205                           Suite 100
Cleveland, OH 44122                                  Norfolk, VA 23502




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Detroit Water & Sewerage Department               (u)Edward Harris                                     (u)LoanCare, LLC
                                                     KVS, LLC d/b/a Re/Max First




End of Label Matrix
Mailable recipients    53
Bypassed recipients     3
Total                  56




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